Case 2:17-cv-06511-CCC-MF Document 15 Filed 02/16/18 Page 1 of 1 PageID: 53




UNITED STATES DISTRICT COURT

orsinrcr oF NEW JERSEY


MARIO DAMAS,

                    Plaintiff,                       Case No.2:17-cv-065L1

             * -against-
               ',oi
                                                     STIPULATION OF DISMISSAI

QUALITY ASSET hECOVCNY, LLC,                         AGAINST ALL PARTIES

                    Defendant                         WITH PREJUDICE



    Pursuant to Federal Rule of Civil Procedure a1{aXl)(Axii), Plaintiff

Mario Damas and Defendant Quality Asset Recovery, LLC hereby

stipulate and agree that Plaintiffs cause against Quality Asset Recovery,     LLC

is voluntarily dismissed in its entirety and   with prejudice, with each party to
bear its own costs and attorney's fees. No party hereto is an infant or

incompetent. There is no Counterclaim.
Dated: February 14, 20L8



/slEdward B. Geller. Esq.                       /s/Graeme E. Hosan, Esq.
Edward B. Geller, Esq., P.C.              Fineman Krekstein & Harris

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Attorney for Plaintiff                         Attorney for Defendant
